DocuSign Envelope ID: E3563680-B8A9-4C1A-BA51-C2339A121539
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                                                                                                                                                              POS-010
      ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                     FOR COURT USE ONLY
         CENTER FOR DISABILITY ACCESS
         Raymond G. Ballister, Jr. SBN 111282
         P.O. Box 262490
         San Diego, CA 92196-2490
                 TELEPHONE NO.:      (858) 375-7385    FAX NO. (Optional): (888) 422-5191

      E–MAIL ADDRESS (Optional):     mark@potterhandy.com
          ATTORNEY FOR (Name):       Plaintiff
      CENTRAL      DISTRICT OF CALIFORNIA
        STREET ADDRESS:

           MAILING ADDRESS:

          CITY AND ZIP CODE:

                BRANCH NAME:


          PLAINTIFF/PETITIONER:             Kong                                                                  CASE NUMBER:

                                                                                                                             8:19-cv-00542-AG-ADS
     DEFENDANT/RESPONDENT:                  MUFG Union Bank, N.A. et. al.
                                                                                                                 Ref. No. or File No.:

                                         PROOF OF SERVICE OF SUMMONS

                                                   (Separate proof of service is required for each party served.)
    1.    At the time of service I was at least 18 years of age and not a party to this action.
    2.    I served copies of:
           a.             summons
          b.              complaint
          c.              Alternative Dispute Resolution (ADR) package
          d.              Civil Case Cover Sheet (served in complex cases only)
          e.              cross-complaint
          f.      X       other (specify documents):       SEE ATTACHED LIST OF DOCUMENTS SERVED
    3.    a. Party served (specify name of party as shown on documents served):
                MUFG Union Bank, N.A.
          b.           Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                       under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                       Branch Manager, Michael Gast.
    4.    Address where the party was served:
          911 Harbor Blvd Fullerton, CA 92832
    5.    I served the party (check proper box)
          a.         by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                     receive service of process for the party (1) on (date): 3/26/2019                 (2) at (time): 11:35 AM
          b.          by substituted service.   On (date):                   at (time):            I left the documents listed in item 2 with or
                      in the presence of (name and title or relationship to person indicated in item 3):


                         (1)              (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                          of the person to be served. I informed him or her of the general nature of the papers.

                         (2)              (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                          place of abode of the party. I informed him or her of the general nature of the papers.
                         (3)              (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                          address of the person to be served, other than a United States Postal Service post office box. I informed
                                          him or her of the general nature of the papers.
                         (4)              I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                          at the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                                          (date):               from (city): San Diego                 or        a declaration of mailing is attached.
                         (5)              I attach a declaration of diligence     stating actions taken first to attempt personal service.
                                                                                                                                                                 Page 1 of 2

      Form Adopted for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
        Judicial Council of California
                                                             PROOF OF SERVICE OF SUMMONS
      POS-010 [Rev. January 1, 2007]
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          PLAINTIFF/PETITIONER:          Kong                                                           CASE NUMBER:


                                         MUFG Union Bank, N.A. et. al.                                             8:19-cv-00542-AG-ADS
     DEFENDANT/RESPONDENT:



    5.    c.            by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                        address shown in item 4, by first-class mail, postage prepaid,

                        (1) on (date):                                             (2) from (city):
                         (3)         with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                     to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                        (4)           to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

          d.            by other means (specify means of service and authorizing code section):




                        Additional page describing service is attached.

    6.    The "Notice to the Person Served" (on the summons) was completed as follows:
           a.        as an individual defendant. (415.10)
           b.        as the person sued under the fictitious name of (specify):
          c.         as occupant.
           d.        On behalf of (specify):       MUFG Union Bank, N.A.
                         under the following Code of Civil Procedure section:
                                        416.10 (corporation)                           415.95 (business organization, form unknown)
                                        416.20 (defunct corporation)                   416.60 (minor)
                                        416.30 (joint stock company/association)       416.70 (ward or conservatee)
                                        416.40 (association or partnership)            416.90 (authorized person)
                                        416.50 (public entity)                         415.46 (occupant)
                                                                                       other:
    7.    Person who served papers
          a. Name: Richard Atkinson
          b. Address: 10073 Valley View Street, #118, Cypress, CA 90630
          c. Telephone number: (949) 370-5102
          d. The fee for service was: $ 30
          e. I am:
                (1)            not a registered California process server.
                (2)            exempt from registration under Business and Professions Code section 22350(b).
                (3)            a registered California process server:
                               (i)         owner          employee         independent contractor.
                               (ii) Registration No.: 2888
                               (iii) County: Orange

     8.            I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                   or
     9.            I am a California sheriff or marshal and I certify that the foregoing is true and correct.

    Date:             4/15/2019

          Richard Atkinson
               (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                            (SIGNATURE )




    POS-010 [Rev. January 1, 2007]                                                                                                        Page 2 of 2
                                                         PROOF OF SERVICE OF SUMMONS
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                           Kong v. MUFG Union Bank, N.A. et. al.
            Case Name: ________________________________________________

            Case Number: ______________________________________________
                             8:19-cv-00542-AG-ADS


                                                   DOCUMENTS SERVED

✔ SUMMONS & PROOF OF SERVICE                                     ECF REGISTRATION INFORMATION HANDOUT
✔ COMPLAINT & CIVIL COVER SHEET                                  ORDER SETTING CASE MANAGEMENT CONFERENCE
    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                                 NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
    VERIFICATION
                                                                 VOLUNTARY EFFICIENT LITIGATIONS STIPULATIONS
    CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF
    LOCATION                                                     STIPULATION - EARLY ORGANISATIONAL MEETING

✔ NOTICE TO PARTIES OF COURT – DIRECTED ADR PROGRAM              STIPULATION – DISCOVERY RESOLUTION
✔ CERTIFICATION AND NOTICE OF INTERESTED PARTIES                 INFORMAL DISCOVERY CONFERENCE
✔ NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES                   STIPULATION AND ORDER – MOTIONS IN LIMINE
    NOTICE TO COUNSEL
                                                             ✔   ADVISORY INFORMATION FOR BUILDING OWNERS AND TENANTS
    ATTENTION: NEW CVIL ACTIONS                                  [PER CALIFORNIA CIVIL CODE 55.3(B)(1)(A)]
    DEMAND FOR JURY TRIAL                                        ADVISORY NOTICE TO DEFENDANT [PER CALIFORNIA CIVIL CODE
                                                             ✔   55.54(A)(1)]
✔ NOTICE TO PARTIES: COURT POLICY ON SETTLEMENT
    AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR)              NOTICE OF STAY & EARLY EVALUATION CONF OR JOINT INSPECTION (Disability Access
                                                             ✔   Litigation)
    ORDER RE STATUS (PRE TRIAL SCHEDULING) CONFERENCE
    NOTICE OF AVAILABILITY OF A MAJISTRATE JUDGE TO          ✔   DEFENDANT’S APPLICATION FOR STAY & EARLY EVALUATION CONFERENCE PER CIVIL
                                                                 CODE 55.54 OR JOINT INSPECTION
    EXERCISE JURISDICTION AND APPEAL INSTRUCTIONS
                                                                 OTHER
    NOTICE OF AVAILABILITY‐VOLUNTARY DISPUTE RESOLUTION
    STIPULATION TO ELECT REFFERAL OF ACTION TO VOLUNTARY
    DISPUTE RESOLUTION PROGRAM (VDRP)
    ORDER REQUIRING JOINT STATUS REPORT
    ORDER RE FILING REQUIREMENTS
    ORDER SETTING MANDATORY SCHEDULING CONFERENCE
    STANDING ORDER REGARDING CASE MANAGEMENT IN ALL
    CIVIL CASES
    SCHEDULING ORDER FOR CASES ASSERTING DENIAL OF RIGHT
    OF ACCESS UNDER AMERICANS WITH DISABILITIES ACT
    CIVIL MINUTES – GENERAL
    SETTLEMENT CONFERENCE PROCEDURES
    STANDING ORDER FOR ALL JUDGES OF THE NORTHERN
    DISTRICT OF CALFORNIA
    CONSENT TO PROCEED BEFORE A UNITED STATE MAJISTRATE
    JUDGE
